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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND


AMERICAN ACADEMY OF
PEDIATRICS, et al.,

             Plaintiffs,

      v.                              Civil Action No. 8:18-cv-883-PWG

UNITED STATES FOOD AND DRUG
ADMINISTRATION, et al.,

             Defendants.


      MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
    SUMMARY JUDGMENT AND IN SUPPORT OF DEFENDANTS’ MOTION
    TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

       The Tobacco Control Act (TCA or Act) sets forth a comprehensive scheme for the

regulation of tobacco products. Manufacturers of products subject to the Act must generally

register with the FDA, submit lists of their products and ingredients, obtain premarket

authorization before marketing new products, and include health warnings on packaging and

advertisements. Products marketed in violation of these requirements are considered

“adulterated” or “misbranded.”

       Congress made the TCA immediately applicable to four products—cigarettes, cigarette

tobacco, roll-your-own tobacco, and smokeless tobacco—and authorized the FDA to later

“deem” other products subject to the Act. The FDA exercised that authority in 2016, issuing a

regulation—known as the “deeming rule”—that subjected cigars and e-cigarettes, among other

products, to its regulatory oversight.

       This case concerns the FDA’s enforcement of the TCA’s premarket review provision.

When it passed the Act in 2009, Congress included a statutory grace period that applied to the

four originally regulated products: it required the FDA to allow those products to remain on the

market during premarket review so long as their manufacturers submitted premarket applications

by March 2011. But there is no statutory grace period for products later deemed subject to the

Act. Thus, when the deeming rule took effect in August 2016, all newly deemed products then

on the market were suddenly noncompliant with the statute. This was no small matter: as many

as 7,500 cigars, 11,000 e-cigarette products, and 5,710 pipe tobacco products were affected.

Final Regulatory Impact Analysis (RIA) at 84 (AR 23,995).1


1
 Citations to the “AR” are to the Administrative Record for the deeming rule. Citations to
“GAR” are to the supplemental Administrative Record for the Guidance.
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       In their comments on the deeming rule, the Plaintiff public-health organizations

“recognize[d] . . . the need for FDA to use its enforcement discretion to adapt those provisions to

the special circumstances of products that become subject to the TCA by virtue of deeming.”

AR 145,551. While they urged the FDA to select a relatively short compliance period, they

acknowledged that “[p]ermitting a compliance period for newly deemed products is discretionary

with FDA.” AR 145,607. Accordingly, the FDA used its enforcement discretion—discretion

that the Supreme Court has described as “complete,” Heckler v. Chaney, 470 U.S. 831, 835

(1985)—to defer enforcement of various provisions, including the premarket review provision,

to give manufacturers time to come into compliance. In the preamble to the final deeming rule,

the FDA thus announced that it intended to defer enforcement of the premarket review provision

for most newly deemed products until at least February 2018, to allow manufacturers to submit

applications, and for an additional year while those applications were reviewed.

       In July 2017, the FDA revised this compliance policy as part of a new comprehensive

regulatory strategy. The agency announced that it would further defer enforcement of the

premarket review provision with respect to combustible products (like cigars) until 2021, and

noncombustible products (like most e-cigarettes) until 2022—but only for products that were on

the market when the deeming rule took effect in August 2016. In the meantime, the agency

plans to issue regulations governing the information to be included in premarket applications, to

develop standards that certain products must meet, and to publish additional guidance explaining

what applications should contain and how they will be reviewed. This approach is part of a

broader comprehensive plan for the regulation of tobacco and nicotine, and is intended to help

foster a smooth transition to a properly regulated marketplace and to pave the way for higher-

quality applications informed by the forthcoming regulations and guidance. Here, Plaintiffs


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challenge an August 2017 FDA guidance document (the Guidance) that describes the revised

compliance policy.

         This case should be dismissed for a number of independent threshold defects. First,

Plaintiffs lack standing, as they are not regulated by the TCA and are not cognizably harmed by

the Guidance. They principally claim that the FDA’s enforcement policy indirectly impairs their

missions, requiring them to monitor the market for dangerous tobacco products. But a

neighboring district court recently found that most of the same Plaintiffs lacked standing to

intervene in a related challenge to the deeming rule, holding that these alleged harms were too

“abstract” to confer standing. Cigar Ass’n of Am. v. FDA, 323 F.R.D. 54 (D.D.C. 2017). So too

here.

         Second, an “agency’s decision not to prosecute or enforce, whether through civil or

criminal process, is . . . generally committed to an agency’s absolute discretion” and is therefore

“presumed immune from judicial review.” Chaney, 470 U.S. at 831–32. Such decisions involve

“a complicated balancing of . . . factors which are peculiarly within [an agency’s] expertise,”

including “whether the particular enforcement action requested best fits the agency’s overall

policies.” Id. at 831. Indeed, such decisions “resemble[] a prosecutor’s prerogative not to

indict—‘a decision which has long been regarded as the special province of the Executive

Branch.’” Baltimore Gas & Elec. Co. v. FERC, 252 F.3d 456, 459 (D.C. Cir. 2001) (quoting

Chaney, 470 U.S. at 832). Plaintiffs cannot overcome that presumption here. As the Supreme

Court has squarely held, the enforcement provisions of the Federal Food, Drug, and Cosmetic

Act—of which the TCA is part—“commit complete discretion to the Secretary to decide how

and when they should be exercised.” Chaney, 470 U.S. at 835 (emphasis added).




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       Third, the Guidance is not final agency action subject to review under the Administrative

Procedure Act (APA). It reflects only the FDA’s current enforcement strategy, and imposes no

substantive obligations on any regulated party or member of the public, much less Plaintiffs.

       Even if Plaintiffs could overcome these justiciability hurdles, their claims would fail on

the merits. To begin, the Guidance does not conflict with the TCA. While the statute requires

manufacturers to obtain premarket authorization before marketing their products, it does not

command the FDA to enforce those provisions in any particular way. And that Congress set

forth a statutory grace period for originally regulated products in no way curtails the agency’s

inherent discretion to extend a similar grace period to newly deemed products—if anything, it

shows that deferring enforcement of this provision for newly regulated products is entirely

sensible. Plaintiffs’ contentions to the contrary simply cannot be squared with their earlier

acknowledgment of “the need for FDA to use its enforcement discretion to adapt those

provisions” to newly deemed products. AR 145,551.

       Plaintiffs’ notice-and-comment claim is equally unavailing. The APA explicitly exempts

“general statements of policy” from notice and comment, 5 U.S.C. § 553(b), and the revised

compliance policy described in the Guidance readily qualifies. It imposes no substantive

obligations on regulated parties, but merely “explains how the agency will enforce a statute or

regulation—in other words, how it will exercise its broad enforcement discretion,” Nat’l Mining

Ass’n v. McCarthy, 758 F.3d 243, 251 (D.C. Cir. 2014)—a paradigmatic statement of policy.

       Finally, Plaintiffs’ claim that the revised compliance policy is arbitrary and capricious

likewise lacks merit. Agencies are always free to change course on policy matters so long as

they provide a rational explanation. Here, the FDA’s decision to further defer enforcement of




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the TCA’s premarket review provision, while it issues regulations and guidance intended to

improve the quality of premarket applications, amply meets that deferential standard.

       The Court should dismiss this case or, in the alternative, grant summary judgment to

Defendants.

                                         BACKGROUND

       A.      The Tobacco Control Act and the Deeming Rule

       This case concerns an FDA regulation—known as the “deeming rule”—that deems

electronic cigarettes, cigars, and pipe tobacco (among other products) subject to regulation under

Chapter IX of the Federal Food, Drug, and Cosmetic Act (FDCA). The deeming rule generally

subjects these products to the same regulatory scheme that has applied to conventional cigarettes

since the Tobacco Control Act was enacted in 2009.

       The TCA establishes a comprehensive scheme for the regulation of tobacco products,

which Congress broadly defined to include “any product made or derived from tobacco that is

intended for human consumption.” 21 U.S.C § 321(rr)(1). Among other things, the TCA

requires a manufacturer to obtain premarket authorization before introducing a “new tobacco

product”—that is, a product not commercially marketed in the United States as of February 15,

2007, or modified after that date—into interstate commerce. Id. § 387j(a)(1)–(2).

       A manufacturer may seek premarket authorization through one of three pathways: by

submitting (1) a “premarket tobacco application” demonstrating that the product would be

appropriate for the protection of the public health, id. § 387j(b)–(c); (2) a “report” establishing

that the product is “substantially equivalent” to a predicate product, id. §§ 387j(a)(2)(A)(i),

387e(j)(1); or (3) a request for an “exemption” from the substantial equivalence requirement, id.

§§ 387j(a)(2)(A)(ii), 387e(j)(3). For simplicity, this brief generally refers to each route as


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requiring a “premarket application.”

       A tobacco product that is marketed without a necessary premarket authorization is

considered “adulterated” or “misbranded.” Id. §§ 387b(6), 387c(a)(6). The FDA “is authorized

to conduct examinations and investigations” to enforce these and other provisions of the FDCA.

Id. § 372(a)(1)(A). Violations may lead to enforcement action, including the seizure of

offending products, id. § 334, injunctions against manufacturers, distributors, and retailers, id.

§ 332, and criminal prosecution, id. §§ 331(a)–(c), 333(a), 335.

       In the TCA, Congress made Chapter IX of the FDCA immediately applicable to four

categories of tobacco products: “all cigarettes, cigarette tobacco, roll-your-own tobacco, and

smokeless tobacco.” Id. § 387a(b). It also made Chapter IX applicable to any “other tobacco

products that the Secretary by regulation deems to be subject to this chapter,” id.—the authority

that the FDA exercised in the deeming rule. As noted above, supra at 1, once the deeming rule

took effect in August 2016, the newly regulated products immediately became subject to Chapter

IX—meaning that as many as 25,000 products were suddenly out of compliance with its

provisions. RIA at 84 (AR 23,995). Accordingly, in the preamble to the deeming rule, the FDA

announced “compliance periods” during which it did not intend to enforce certain provisions, 81

Fed. Reg. at 29,003–15 & tbls. 2–3, adopting with some modifications the anticipated

compliance policy it had set forth in the preamble to the proposed rule.2 In the meantime, the

agency explained, it was “committed to helping industry better understand the tobacco product

premarket review process.” Id. at 29,013.


2
 FDA, Deeming Tobacco Products To Be Subject to the Federal Food, Drug, and Cosmetic Act,
as Amended by the Family Smoking Prevention and Tobacco Control Act; Regulations on the
Sale and Distribution of Tobacco Products and Required Warning Statements for Tobacco
Products, 79 Fed. Reg. 23,142, 23,172–74 & tbl. 1B (Apr. 25, 2014).


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       B.      The Original Compliance Policy

       Although “[a]gency compliance/enforcement policies are not subject to the requirements

that govern notice-and-comment rulemaking,” id. at 29,010 (citations omitted), the FDA

published and sought comment on its compliance policy “because the relevant time periods

[we]re of obvious interest” to industry and the public, id. Unsurprisingly, it received conflicting

comments. On the one hand, “many industry comments sought additional time to comply with

the[] requirements” imposed by the rule, id. at 29,012, asserting, for example, that “small and

medium-sized businesses . . . lack the resources to tackle [its] high administrative burden,” id. at

29,014. On the other hand, “many other comments stated that the contemplated . . . compliance

period[s] w[ere] too long,” id. at 29,013, and could be “detrimental to the public health,” id. at

29,012. Notably, no commenter suggested that the FDA lacks the authority to adopt such

compliance periods. Indeed, the Plaintiff public-health organizations submitted a comment

urging the agency to “exercise . . . its enforcement discretion” to select shorter compliance

periods, but acknowledging that “[p]ermitting a compliance period for newly deemed tobacco

products is discretionary with FDA.” AR 145,604, 145,607.

       After weighing these considerations, the FDA set forth its original compliance policy in

the preamble to the final deeming rule, seeking to “strike[] an appropriate balance between

providing industry time to transition and protecting the public health.” 81 Fed. Reg. at 29,014.

As the agency explained, as an exercise of “enforcement discretion,” it did “not intend to take

enforcement action” under certain provisions for specified periods. Id. at 29,010. For example,

it planned to defer enforcement of the requirements to register as a manufacturer and submit a

list of products until December 2016. Id. at 29,006. It expected to defer enforcement of the

requirement to submit a list of ingredients until February 2017. Id. And, for most products, it


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intended to defer enforcement of the premarket review requirement until at least February 2018.

Id. at 29,010–11. With respect to premarket review in particular, the FDA sought to “balance the

Agency’s concern about the continued marketing of new tobacco products that have not been

reviewed by FDA . . . and the possibility that some of those products are playing a role in helping

some tobacco users transition away from what is likely the most harmful form of nicotine

delivery for an individual user, combusted tobacco products.” Id. at 29,011. The FDA noted,

however, that “[a]s with any such policy, the Agency will review and revise this policy as

appropriate.” Id. at 29,008.

       C.      Deeming Rule Litigation

       Within months of the deeming rule’s issuance, it was challenged by manufacturers, trade

associations, and consumers in eight separate lawsuits—many of which focused on the burden

and expense of the premarket review requirement. Some of the earlier cases quickly proceeded

to merits briefing. For example, in the leading case, Nicopure Labs, LLC v. FDA, No. 16-878

(D.D.C.), the plaintiffs argued (among other things) that the premarket review compliance

periods were irrationally short, and that the agency had provided insufficient guidance for

manufacturers to prepare successful applications. Although the district court rejected these

arguments, noting “the range of viewpoints that had been presented during the notice and

comment period,” it observed that “other approaches may have been reasonable as well.”

Nicopure Labs, LLC v. FDA, 266 F. Supp. 3d 360, 400 (D.D.C. 2017), appeal docketed, No. 17-

5196 (D.C. Cir. Aug. 31, 2017).3 And members of the public and industry continued to press the

agency to adopt another approach. See infra at 44 & n.15.


3
 Nicopure, brought by a manufacturer of e-cigarettes and e-liquids, was consolidated and
decided with Right to Be Smoke-Free Coalition v. FDA, No. 16-1210 (D.D.C.), brought by a


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       After the change in administrations, briefing in several other challenges to the deeming

rule was delayed to give new leadership at the Department of Health and Human Services time to

more fully consider the issues and determine how best to proceed.4 At the same time, the FDA

announced a 3-month extension of all compliance periods under the deeming rule that had not

yet elapsed.5

       D.       The FDA’s Comprehensive Regulatory Plan and Updated Compliance Policy

       On July 28, 2017, the FDA announced a “new comprehensive plan” for the regulation of

tobacco products.6 The agency explained that its new approach would place “nicotine, and the

issue of addiction, at the center of [its] tobacco regulation efforts.” Press Release at 1 (GAR

411). In particular, the agency set a new public health goal of “lowering nicotine levels in

combustible cigarettes to non-addictive levels through achievable product standards,” which

would “decrease the likelihood that future generations become addicted to cigarettes and allow

more currently addicted smokers to quit.” Id. at 1–2 (GAR 411–12). The agency issued an




coalition of e-cigarette industry trade associations. In a second case, the district court largely
granted a motion to dismiss for lack of standing. Faircloth v. FDA, No. 16-5267, 2017 U.S.
Dist. LEXIS 159641 (S.D.W. Va. Sep. 28, 2017) (e-cigarette consumer and state legislator). A
third case quickly settled. John Middleton Co., LLC v. FDA, No. 16-996 (D.D.C.) (cigar
manufacturer).
4
  See Cigar Ass’n of Am. v. FDA, No. 16-1460 (D.D.C.) (cigar and pipe tobacco manufacturer
trade groups); Sanchez Icaza v. FDA, No. 16-21967 (S.D. Fla.) (cigar manufacturer); Cyclops
Vapor 2, LLC v. FDA, No. 16-556 (M.D. Ala.) (e-liquid manufacturers and e-cigarette vendors);
Lost Art Liquids, LLC v. FDA, No. 16-3468 (C.D. Cal.) (e-liquid manufacturer).
5
 FDA, Guidance for Industry: Three-Month Extension of Certain Tobacco Product Compliance
Deadlines Related to the Final Deeming Rule (May 2017) (GAR 206–18).
6
 FDA, Press Release, FDA Announces Comprehensive Regulatory Plan to Shift Trajectory of
Tobacco-Related Disease, Death, at 1 (July 28, 2017) (“Press Release”) (GAR 411–13).


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Advance Notice of Proposed Rulemaking (ANPRM) seeking public comment on this issue in

March 2018. See 83 Fed. Reg. 11,818 (Mar. 16, 2018).

         The agency also explained that, while it is pursuing the goal of reducing the nicotine

levels in combustible cigarettes, it is “committed to encouraging innovations that have the

potential to make a notable public health difference,” Press Release at 2 (GAR 412)—such as e-

cigarettes, which may present a reduced risk of tobacco-related disease because they generally do

not produce the smoke delivered by combustible tobacco products, 81 Fed. Reg. at 28,981.7 As

part of that effort, the agency:

    •    Announced that it “intends to issue regulations outlining what information the agency
         expects to be included in [p]remarket [t]obacco [a]pplications,” Press Release at 2 (GAR
         412)—the type of premarket application most likely to be submitted by e-cigarette
         manufacturers, RIA at 97 & tbl. 16 (AR 24,008).

    •    Plans “to develop product standards” that certain newly regulated products must meet—
         for example, “to protect against known public health risks such as [e-cigarette] battery
         issues and concerns about children’s exposure to liquid nicotine.” Press Release at 2
         (GAR 412).

    •    Has issued ANPRMs seeking public comment on, among other things, the role that
         flavors play in tobacco products, including “whether and how certain flavors may help
         adult cigarette smokers reduce cigarette use and switch to potentially less harmful
         products.” 83 Fed. Reg. 12,294 (Mar. 21, 2018); see Press Release at 2 (GAR 412).

    •    Will “finalize guidance on how it intends to review” premarket applications for e-
         cigarettes. Press Release at 2 (GAR 412).

         In addition, the agency explained that, “to make this effort successful,” id., it intended to

further defer enforcement of the TCA’s premarket review provision for a subset of newly

regulated products—namely, those that were on the market as of August 8, 2016, when the


7
  This brief uses the term “e-cigarette” to refer to any sort of electronic nicotine delivery system
(ENDS), including so-called “vaping” devices. See 81 Fed. Reg. at 28,976 (“ENDS” includes
“e-cigarettes, ehookah, e-cigars, vape pens, advanced refillable personal vaporizers, and
electronic pipes”).


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deeming rule took effect.8 Under this “new compliance policy,” the compliance period for

seeking premarket authorization was extended to August 2021 for combustible products (like

cigars) and to August 2022 for noncombustible products (like most e-cigarettes). During these

periods, the TCA’s premarket review provision remains in effect, but the FDA “does not intend

to enforce” that requirement “as a matter of enforcement discretion.” Guidance at 4 (GAR 425).

This “targeted relief” was intended to “make certain that the FDA is striking an appropriate

balance between regulation and encouraging development of innovative tobacco products that

may be less dangerous than cigarettes,” and to “provide manufacturers additional time to develop

higher quality, more complete applications informed by additional guidance from the agency.”

Press Release at 1–2 (GAR 411–12). The Guidance notes, however, that it merely “represents

the current thinking of the [FDA] on this topic,” and “does not establish any rights for any person

and is not binding on [the] FDA or the public.” Guidance at 1 (GAR 422).

       Notably, the Guidance left the compliance periods for the vast majority of TCA

provisions unchanged. It did “not apply to provisions of the final rule for which compliance

deadlines already ha[d] passed, such as mandatory age and photo-ID checks to prevent illegal

sales to minors.” Press Release at 2 (GAR 412). It likewise did “not affect future deadlines for

other provisions of the rule, including, but not limited to, required warning statements, ingredient

listing, health document submissions, harmful and potentially harmful constituent reports, and

the removal of modified risk claims, i.e., ‘light,’ ‘low,’ or ‘mild,’ or similar descriptors.” Id.

And even with respect to the premarket review provision, the Guidance did not alter the fact that

many newly regulated products—namely, those that entered the market after August 8, 2016—

8
 FDA, Guidance for Industry: Extension of Certain Tobacco Product Compliance Deadlines
Related to the Final Deeming Rule (Aug. 2017) (“Guidance”), https://www.fda.gov/
TobaccoProducts/Labeling/RulesRegulationsGuidance/ucm557714.htm (GAR 420–33).


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are not subject to the compliance policy at all, and must go through the premarket review process

before entering the market.

       E.      This Action

       Plaintiffs bring three claims under the APA. First, they allege that the Guidance conflicts

with the TCA and amounts to an “abdication of . . . statutory responsibilities” “so flagrant” as to

offend the Take Care Clause. Compl. ¶¶ 94–95, 100–01 (citing 21 U.S.C. § 387j and U.S. Const.

art. II, § 3). Second, they contend that the Guidance was improperly issued without notice and

comment. Id. ¶¶ 103–10 (citing 5 U.S.C. § 553(b)). Third, they assert that the Guidance reflects

a change in agency policy so inadequately explained as to be arbitrary and capricious. Id.

¶¶ 111–18 (citing 5 U.S.C. § 706).

                                           ARGUMENT

I.     THIS CASE IS NOT JUSTICIABLE

       A.      Plaintiffs Lack Standing

       Plaintiffs are not the object of the challenged Guidance. Rather, their principal claim of

injury is that the Guidance conflicts with their mission to combat tobacco use and to educate the

public and their patients about the health effects of tobacco products. That is precisely the type

of abstract policy concern that is insufficient to confer standing.

       To satisfy Article III’s standing requirements, a plaintiff—whether an organization or an

individual—must (1) have suffered an injury in fact; (2) that is caused by the defendant’s

conduct; and (3) that is likely to be redressed by a favorable ruling. See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992); Lane v. Holder, 703 F.3d 668, 672, 674 (4th Cir. 2012). The

plaintiff bears the burden of alleging facts to establish each element, FW/PBS, Inc. v. City of

Dallas, 493 U.S. 215, 231 (1990), and, at the summary judgment stage, “must set forth evidence


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of an injury in fact in addition to [the allegations] provided in the complaint,” Pye v. United

States, 269 F.3d 459, 467 (4th Cir. 2001) (citing Lujan, 504 U.S. at 561) (emphasis added). An

organization seeking to sue on behalf of its members must demonstrate that “its members would

otherwise have standing to sue in their own right, the interests at stake are germane to the

organization’s purpose, and neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Friends of the Earth, Inc. v. Laidlaw Envtl.

Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).

       An injury in fact is “an invasion of a legally protected interest which is (a) concrete and

particularized, and (b) actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at

560 (citation omitted). To be particularized, an injury “must affect the plaintiff in a personal and

individual way.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (citation omitted); accord

Lujan, 504 U.S. at 560 n.1. It is not enough that the plaintiff “suffers in some indefinite way in

common with people generally.” Hein v. Freedom from Religion Found., 551 U.S. 587, 599

(2007) (citation omitted). Concreteness is an independent requirement. See Spokeo, 136 S. Ct.

at 1548. To be concrete, an injury must “actually exist” rather than being merely “abstract.” Id.

               1.      Plaintiffs Cannot Show a Cognizable Injury Caused by the
                       Guidance

       Plaintiffs have not satisfied the requirements for standing because they have not alleged a

concrete, particularized, and imminent injury to a legally protected interest that is fairly traceable

to the Guidance. The Organizational Plaintiffs assert that the Guidance “impairs [their] ability to

carry out their missions” because they will have to expend resources to “monitor the marketplace

for dangerous tobacco products” and “conduct . . . studies or otherwise evaluate the dangers of

newly deemed tobacco products” in order to “carry out their public-education functions.”

Compl. ¶¶ 33, 38, 41, 45. The Individual Plaintiffs similarly allege that the Guidance will make

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it “more difficult, time-consuming, and resource-intensive to counsel, advise, and treat patients.”

Id. ¶ 48. But another district court already determined that similar allegations by most of the

same Plaintiffs were not sufficient to establish standing to intervene in a challenge to the

deeming rule.

       In Cigar Association of America v. FDA, 323 F.R.D. 54 (D.D.C. 2017), six of the public-

health organizations that are Plaintiffs here sought to intervene (both on their own and on behalf

of their physician members) in a suit brought by trade associations challenging, among other

things, the deeming rule’s requirement to include certain health warnings on cigar and pipe

tobacco packages and advertisements. The proposed intervenors alleged that, if the plaintiffs in

Cigar Association were successful in invaliding the warning requirements, the organizations

would be “compelled to expend additional resources to communicate information to the public

that would otherwise appear on the products themselves.” Id. at 62. The court denied the motion

to intervene based on its determination that the organizations lacked standing. See id. at 57.

       The court explained that the proposed intervenors had not demonstrated that their

activities would be “‘perceptibly impaired’ as required to make out a concrete and demonstrable

injury for purposes of Article III.” Id. at 62. Instead, the organizations’ assertion that they

would “have to expend some undefined amount of additional resources if the Rule is vacated”

was merely a “generalized harm” and an “abstract injury to [the organizations’] interests.” Id. at

62–63 (citation omitted). The court noted that, at most, the organizations had shown that “the

Rule [would] help them achieve their organizational objectives and that the Rule’s demise would

make it harder to achieve those objectives.” Id. at 63. Such a showing, however, did not amount

to a legally sufficient injury in fact. See id. The court also held that the organizations did not

have standing to sue on behalf of their physician members for the same reasons. See id. at 64–


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65. The members’ assertion that, in the absence of the Rule, they would have to “expend

additional time and resources counseling patients about the dangers of tobacco use” was not

sufficiently particularized or concrete. Id. at 65.

       Plaintiffs’ standing allegations here are flawed for the same reasons. The Organizational

Plaintiffs contend that, like the warning requirements at issue in Cigar Association, the

premarket review process at issue here would “help them achieve their organizational objectives”

and the Guidance, which extends the compliance dates for certain products, may “make it harder

[for the organizations] to achieve those objectives” because manufacturers may decide not to

conduct studies on the effects of certain newly deemed tobacco products and the FDA’s

authorization (or denial) of certain premarket applications may be delayed. Id. at 63; see Compl.

¶¶ 34–46. As in Cigar Association, however, these alleged injuries are merely generalized and

abstract harms to the organizations’ interests in educating the public and combating tobacco use.

The Organizational Plaintiffs have not alleged a concrete, particularized, and imminent injury

stemming from the Guidance.

       The Individual Plaintiffs fare no better. They make the same allegations that the

proposed intervenors made in Cigar Association in an effort to establish standing on behalf of

their physician members—i.e., that it will be more difficult and resource intensive for the

Individual Plaintiffs to counsel and treat their patients with the Guidance than without. Compare

Cigar Association, 323 F.R.D. at 64–65, with Compl. ¶¶ 48–51. The Cigar Association court

concluded that these allegations were “abstract societal interests” that did not “connect . . . to

Plaintiffs’ present challenges to the Rule.” 323 F.R.D. at 65. That is equally true here.

       Plaintiffs’ allegations of injury in this case also fail for additional reasons. First, it is well

established that standing is “substantially more difficult” to show “[w]hen a plaintiff is not the


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direct subject of government action, but rather . . . the ‘asserted injury arises from the

government’s allegedly unlawful regulation (or lack of regulation) of someone else.” Lane, 703

F.3d at 673 (citation omitted). That is the case here. The Guidance extends compliance dates for

manufacturers to submit certain premarket review applications; it does not regulate Plaintiffs,

who are public-health organizations and physicians, in any way. Accordingly, Plaintiffs’ alleged

injuries are premised on speculation about what manufacturers will do in response to the

Guidance and assumes that Plaintiffs will find the information provided by manufacturers in the

applications to be useful.

       Specifically, Plaintiffs allege that the Guidance will cause manufacturers to (1) delay

submission of premarket review applications for products covered by the Guidance; (2) decide

not to conduct research that they otherwise would have conducted on the effects of their products

in order to support their premarket review applications; and (3) continue to market products they

otherwise would have discontinued, knowing those products would not likely obtain marketing

authorization. See Compl. ¶¶ 37, 39–40, 43–44. These “[a]llegations of possible future injury”

are too speculative to constitute injury in fact. See Clapper v. Amnesty Int’l USA, 568 U.S. 398,

409 (2013) (citation omitted) (emphasis added). Plaintiffs can only hypothesize about the

actions manufacturers may take (or not take) in response to the Guidance, which the FDA issued

as part of an effort to improve the quality of the applications and data manufacturers will submit.

See supra 10–11. Similarly, Plaintiffs’ allegations about what manufacturers would have done in

the absence of the Guidance (e.g., conducting unspecified studies or removing certain

unspecified products from the market) is pure conjecture. Their “standing theories” “rest on

speculation about the [future] decisions of independent actors” and should be rejected. Clapper,

568 U.S. at 414.


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       Second, even if manufacturers were to respond to the Guidance in the ways that Plaintiffs

predict, Plaintiffs have not alleged that it would result in any concrete and particularized injury to

them. Plaintiffs assert that, if manufacturers delay submission of premarket review applications

as a result of the Guidance, the FDA’s decisions on those applications will be delayed, depriving

Plaintiffs of the information contained in those decision documents and requiring them to spend

resources to obtain similar information from other sources in order to educate their members and

the public. See Compl. ¶¶ 34–38, 42–46. But Plaintiffs do not claim (nor could they) that the

Guidance puts them in a worse position than the one in which they have always been. The

products at issue in this litigation were not previously deemed tobacco products under the

FDCA, and thus, manufacturers have never been required to obtain premarket authorization from

the FDA for these products. To the extent Plaintiffs are expending resources to obtain

information about these products, those are resources that Plaintiffs have always had to spend for

these purposes. See, e.g., Am. Acad. Pediatrics, Fact Sheets, https://www.aap.org/en-

us/advocacy-and-policy/aap-health-initiatives/Richmond-Center/Pages/Fact-Sheets.aspx (last

visited Aug. 7, 2018) (providing “fact sheets” on tobacco products, including e-cigarettes).

       Plaintiffs’ complaint, then, is that they may have to continue spending resources on these

endeavors under the Guidance. See Compl. ¶ 44 (asserting that premarket review would

“decrease the resources Plaintiffs currently need to dedicate to their tobacco prevention and

cessation efforts”). An organization, however, “does not suffer an injury in fact where it

‘expend[s] resources to educate its members and others’ unless doing so subjects the

organization to ‘operational costs beyond those normally expended.’” Food & Water Watch, Inc.

v. Vilsack, 808 F.3d 905, 920 (D.C. Cir. 2015) (citation omitted) (emphasis added); see also

Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) (an organization must show


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“concrete and demonstrable injury to [its] activities—with the consequent drain on the

organization’s resources”). Because Plaintiffs have not alleged that the Guidance has caused

them to “spend anything beyond their typical annual expenditures,” Plaintiffs have not alleged a

cognizable injury. Envtl. Working Grp. v. FDA, 301 F. Supp. 3d 165, 172 (D.D.C. 2018)

(holding that organizations “focused on warning the public about the health hazards in consumer

products” lacked standing to challenge the FDA’s denial of a petition to regulate hair products

that allegedly contained formaldehyde because the organizations’ anti-formaldehyde educational

efforts were “exactly” the “type of work . . . these organizations always do” and the

organizations had not alleged that they incurred “operational costs beyond those normally

expended” in response to the agency’s decision); see also Lane, 703 F.3d at 675 (an

organization’s decision to “spend its money on educating members . . . in response to legislation

[or agency action]” is not a cognizable injury).9

       Indeed, Plaintiffs’ future expenditures on efforts to obtain product information to educate

the public and its members may decrease below past levels even under the Guidance. Because

the Guidance does not apply to newly deemed tobacco products that were not on the market as of

August 8, 2016, manufacturers that wish to sell those products are subject to the agency’s usual

policies regarding the requirement to obtain premarket authorization from the FDA. See

Guidance at 3 (GAR 424). Plaintiffs will thus have access to the FDA’s marketing orders and

decision summaries regarding these products, which Plaintiffs never had before, even while the


9
 Plaintiffs also allege that they rely on information in FDA marketing orders and decision
summaries to “press for regulatory actions.” Compl. ¶ 34; see id. ¶ 36. But purported impacts
on an organization’s lobbying activities are not cognizable injuries. See, e.g., Ctr. for Law &
Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C. Cir. 2005); Envtl. Working Grp., 301 F.
Supp. 3d at 171 (explaining that a contrary rule “would allow lobbyists on either side of virtually
any issue to take the Government to court”).


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compliance dates for other products are extended. The Guidance, moreover, does not prevent

manufacturers from submitting premarket applications: a manufacturer may submit such an

application at any time while the compliance period is in effect and the FDA would review that

application.

       Third, to the extent Plaintiffs attempt to allege an informational injury, their allegations

fail because the TCA “does not create a legal right to access to [the] information” Plaintiffs seek.

Salt Inst. v. Leavitt, 440 F.3d 156, 159 (4th Cir. 2006). As noted above, Plaintiffs’ alleged

injuries stem largely from their assertion that the FDA’s authorization (or denial) of premarket

review applications for products covered by the Guidance will be delayed, depriving Plaintiffs of

the information contained in the FDA’s marketing orders and decision summaries.10 See Compl.

¶¶ 34–37. To establish standing based on a denial of access to information, however, a plaintiff

must demonstrate (among other things) that “the statute upon which [it] rel[ies] . . . create[s] a

legal right to access to information.” Salt Inst., 440 F.3d at 159. Absent such a showing, a

plaintiff cannot establish injury to “a legally protected interest,” which is necessary to confer

standing. Lane, 703 F.3d at 672 (citation omitted); see Salt Inst., 440 F.3d at 159.

       The TCA’s provisions governing premarket review do not create any legal rights in third

parties, much less a right to public disclosure of the FDA’s marketing orders and decision

summaries. See 21 U.S.C. § 387j. And Plaintiffs do not claim otherwise. Instead, Plaintiffs cite

a regulation setting forth the agency’s general records policies, which provides that FDA records

shall be made available for public disclosure absent certain exceptions. See Compl. ¶ 35 (citing


10
   The FDA’s marketing orders do not contain any “scientific [or] other data,” but the decision
summaries do. Compl. ¶ 35; see FDA, Premarket Tobacco Product Marketing Orders,
https://www.fda.gov/TobaccoProducts/Labeling/TobaccoProductReviewEvaluation/PremarketTo
baccoApplications/ucm472108.htm (last visited Aug. 7, 2018).


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21 C.F.R. § 20.20(b)). This regulation, however, is not sufficient to create a statutory right to

information. See Salt Inst., 440 F.3d at 159 (asking “whether Congress has granted a legal right

to the information in question”); New Eng. Anti-Vivisection Soc’y v. U.S. Fish & Wildlife Serv.,

208 F. Supp. 3d 142, 156, 159 (D.D.C. 2016) (rejecting a claim of informational injury in part

because it relied on a regulation, not a statute). Furthermore, even if a regulation could provide

the basis for an informational injury, the regulation Plaintiffs cite was not promulgated pursuant

to the “statute upon which” Plaintiffs’ claims rest (i.e., the TCA), and thus, the regulation cannot

create the necessary legal right to access to information that is a predicate for Plaintiffs’ alleged

informational injury. Salt Inst., 440 F.3d at 159.11

        In any event, even if Plaintiffs could demonstrate a legal right to access to the FDA’s

marketing orders and decision summaries, Plaintiffs still have not alleged an informational injury

because the Guidance does not deprive them of access to such information. Under the Guidance,

the FDA will continue to review and act upon premarket review applications that are submitted

to the agency, and the FDA plans to continue to make its marketing orders and decision

summaries available to the public as it has in the past. Thus, Plaintiffs’ claim is not that they

have been denied access to information that exists, but rather, that the FDA may not be creating

the information as quickly as Plaintiffs desire as a result of the Guidance. Such allegations

cannot form the basis for an informational injury. See Friends of Animals v. Jewell, 828 F.3d

989, 992 (D.C. Cir. 2016) (concluding that the plaintiff lacked standing where the statute on

which it relied did not require the agency to publish information until later in the process); New


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   The fact that, in practice, the FDA has historically made its marketing orders and decision
summaries available to the public also does not demonstrate that “the statute upon which
[Plaintiffs] rely . . . create[s] a legal right to access to [this] information.” Salt Institute, 440 F.3d
at 159.


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Eng. Anti-Vivisection Soc’y, 208 F. Supp. 3d at 157 (rejecting the plaintiff’s attempt to rely on a

statute that required the agency to disclose information it received to support an alleged injury

stemming from the agency’s failure to collect the information).

       Because Plaintiffs have not alleged a cognizable injury that is fairly traceable to the

Guidance, the Court lacks jurisdiction.

               2.      Plaintiffs Cannot Demonstrate Redressability

       Plaintiffs also cannot show that their alleged injury is likely to be redressed by a

favorable decision. See Lujan, 504 U.S. at 560. Plaintiffs ask the Court to “[v]acate and set

aside the Guidance” and to “[e]njoin Defendants from enforcement or implementation of the

Guidance.” Compl., Prayer for Relief. This relief, however, would not provide Plaintiffs with

the information they seek from FDA marketing orders and decision summaries. Notably,

Plaintiffs do not ask the Court to force manufacturers to submit premarket applications or to

compel the FDA to take enforcement action against any manufacturer that fails to do so. And

there would be no basis for such a request, as the FDCA contains no private right of action. See

21 U.S.C. § 337(a); Buckman Co. v. Pls.’ Legal Comm., 531 U.S. 341, 349 n.4 (2001).

Accordingly, Plaintiffs also lack standing because their alleged injury is not redressable.

       B.      The Court Lacks Jurisdiction To Review FDA’s Compliance Policy

       Even if Plaintiffs had standing, the Court would lack jurisdiction for another reason: It is

well established that an executive branch agency’s nonenforcement decisions, such as the

compliance policy here, are committed to agency discretion, and thus presumptively immune

from judicial review. Plaintiffs cannot overcome that presumption here.




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               1.      An Agency’s Nonenforcement Decisions Are Presumptively
                       Unreviewable

       The APA grants a cause of action to “[a] person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute.” 5 U.S.C. § 702. It withdraws that cause of action “to the extent that . . . agency action

is committed to agency discretion by law.” Id. § 701(a)(2). In Heckler v. Chaney, 470 U.S. 821

(1985), the Supreme Court held that “an agency’s decision not to prosecute or enforce, whether

through civil or criminal process, is . . . generally committed to an agency’s absolute discretion”

and is therefore “presumed immune from judicial review under § 701(a)(2).” Id. at 831–32; see

Angelex Ltd. v. United States, 723 F.3d 500, 502 (4th Cir. 2013) (where agency “actions [a]re

committed to agency discretion by law . . . , the district court lack[s] jurisdiction” and “dismissal

under Federal Rule of Civil Procedure 12(b)(1)” is required).

       The Chaney Court identified three reasons for the presumption of nonreviewability.

First, an agency’s decision not to enforce involves “a complicated balancing of a number of

factors which are peculiarly within [an agency’s] expertise.” 470 U.S. at 831. An agency:

       must not only assess whether a violation has occurred, but whether agency
       resources are best spent on this violation or another, whether the agency is likely
       to succeed if it acts, whether the particular enforcement action requested best fits
       the agency’s overall policies, and, indeed, whether the agency has enough
       resources to undertake the action at all.

Id. “The agency is far better equipped than the courts to deal with the many variables involved

in the proper ordering of its priorities.” Id. at 831–32. Second, “when an agency refuses to act it

generally does not exercise its coercive power over an individual’s liberty or property rights, and

thus does not infringe upon areas that courts are often called upon to protect.” Id. at 832.

“Third, and perhaps most importantly, an agency’s decision not to enforce resembles a

prosecutor’s prerogative not to indict—‘a decision which has long been regarded as the special

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province of the Executive Branch.’” Baltimore Gas, 252 F.3d at 459 (quoting Chaney, 470 U.S.

at 832).

       Chaney is on all fours here, as it rejected a challenge to an FDA nonenforcement decision

much like this one. There, the plaintiffs argued that certain drugs used for lethal injections had

not been approved by the FDA as “safe and effective” for that purpose, and were therefore

“misbranded” under the FDCA. 470 U.S. at 823–24. The plaintiffs thus argued that the FDA

was required to take “various investigatory and enforcement actions” to prevent these

violations—including to “affix warnings to the labels of all the drugs,” to “send statements to the

drug manufacturers and prison administrators” stating that the drugs should not be used, to

“adopt procedures for seizing the drugs,” and to “recommend the prosecution of all those in the

chain of distribution.” Id. at 824. The Court flatly disagreed, concluding that “[t]he Act’s

enforcement provisions . . . commit complete discretion to the Secretary to decide how and when

they should be exercised.” Id. at 835 (emphasis added); see also Jerome Stevens Pharm., Inc. v.

FDA, 402 F.3d 1249, 1258 (D.C. Cir. 2005) (concluding that the FDA’s extension of a new drug

application approval deadline was “an exercise of FDA’s enforcement discretion”); United States

v. Sage Pharm. Inc., 210 F.3d 475, 480 (5th Cir. 2000) (“[T]he APA prohibits review of the

FDA’s enforcement decisions, at least when the FDA declines to enforce the Act against a

manufacturer.”); Int’l Ctr. for Tech. Assessment v. Thompson, 421 F. Supp. 2d 1, 7 (D.D.C.

2006) (upholding the FDA’s exercise of enforcement discretion concerning new animal drug

applications).

       The compliance policy challenged here—under which the FDA has announced that it

intends to defer enforcement action against certain products that have not obtained premarket




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approval—cannot meaningfully be distinguished. Thus, under Chaney, this Court lacks

jurisdiction to review the challenged Guidance.

                 2.     Plaintiffs Fail to Rebut the Presumption of Nonreviewability

          Although the Supreme Court has identified three circumstances in which a plaintiff

“might” be able to overcome the presumption of nonreviewability, Chaney, 470 U.S. at 833 n.4,

none is present here.

                        a.      The FDCA vests the FDA with “complete discretion” over how
                                and when to exercise its enforcement provisions

          To begin, the presumption of nonreviewability may be overcome “where the substantive

statute has provided guidelines for the agency to follow in exercising its enforcement powers.”

Id. at 833. But, as explained above, Chaney itself found that the FDCA provides no such

“guidelines.” Id. at 835. That conclusion is binding here.

          “Congress may limit an agency’s exercise of enforcement power if it wishes, either by

setting substantive priorities, or by otherwise circumscribing an agency’s power to discriminate

among issues or cases it will pursue.” Id. at 833. The key inquiry is whether “the statute . . .

lay[s] out any circumstances in which the agency is required to undertake or to continue an

enforcement action.” N.Y. State Dep’t of Law v. FCC, 984 F.2d 1209, 1215 (D.C. Cir. 1993);

Baltimore Gas, 252 F.3d at 460. An agency retains its enforcement discretion where the statute

gives no “indication that violators must be pursued in every case, or that one particular

enforcement strategy must be chosen over another.” Ass’n of Irritated Residents v. EPA, 494

F.3d 1027, 1033 (D.C. Cir. 2007). The touchstone is congressional intent. See Chaney, 470 U.S.

at 838.

          Here, the TCA’s premarket review provision states that, before a new tobacco product

may enter the market, its manufacturer must submit an application demonstrating that the

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product is either “appropriate for the protection of the public health,” 21 U.S.C. § 387j(c)(2)(A),

substantially equivalent (SE) to a grandfathered product or other predicate, id.

§§ 387j(a)(2)(A)(i), 387e(j)(1)(A), or exempt from SE requirements, id. § 387j(a)(2)(A)(ii). In

other words, unless the manufacturer submits an SE application or is exempt from SE

requirements, then a premarket authorization “order” affirming that the product is appropriate for

the protection of the public health “is required.” Id. § 387j(c)(2)(A).

       Plaintiffs’ contention that this provision provides a “clear” expression of Congress’s

intent to circumscribe the FDA’s enforcement discretion lacks merit. Compl. ¶ 95. To be sure,

the provision imposes a substantive requirement on tobacco product manufacturers. But the

Supreme Court has “reject[ed] [the] argument that the [FDCA’s] substantive prohibitions . . .

supply us with ‘law to apply’” to constrain the enforcement discretion of the FDA. Chaney, 470

U.S. at 835–36. Such “provisions are simply irrelevant to the agency’s discretion to refuse to

initiate proceedings.” Id. at 836. Critically, Plaintiffs point to nothing in the statutory text that

purports to require the FDA to take enforcement action under these circumstances—which is the

key question under Chaney. See, e.g., Schering Corp. v. Heckler, 779 F.2d 683, 686 (D.C. Cir.

1985) (“These provisions authorize, but do not compel the FDA to undertake enforcement

activity; they ‘commit complete discretion to the Secretary to decide how and when they should

be exercised.’”) (citation omitted); Irritated Residents, 494 F.3d at 1033 (enforcement discretion

not curtailed where statute gives no “indication that violators must be pursued in every case”).

       Indeed, courts have consistently declined to attribute sweeping meaning to the sort of

unremarkable statutory language that Plaintiffs emphasize even when featured in enforcement

provisions. For example, Chaney rejected the argument that an FDCA provision stating that

certain offenders “shall be imprisoned . . . or fined” would “mandate[] criminal prosecution of


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every violator of the Act.” 470 U.S. at 835. The Court noted that there was “no indication in

case law or legislative history that such was Congress’ intention in using this language”—the

same language that is “commonly found” throughout the criminal code, where it is understood

that the prosecution of every offender is not required. Id. (citing, inter alia, 18 U.S.C. §§ 1001

(false statement), 1341 (mail fraud)).

        Chaney also illustrates that the FDCA does not limit the FDA’s enforcement discretion

by offering a contrasting example of a statute that does. As Chaney explains, the statute at issue

in an earlier case, Dunlop v. Bachowski, 421 U.S. 560 (1975), provided that, upon the filing of a

complaint by a union member, the Secretary of Labor “‘shall investigate such complaint and, if

he finds probable cause to believe that a violation . . . has occurred . . . he shall . . . bring a civil

action.’” Chaney, 470 U.S. at 833 (quoting 29 U.S.C. § 482). That statutory language, the Court

in Chaney explained, “quite clearly withdrew discretion from the agency and provided guidelines

for exercise of its enforcement power.” Id. at 834. Even there, however, the Court held that the

Secretary retained “a degree of discretion to select cases” based on his “subjective judgment,”

and required only that he set forth a statement of reasons for not bringing suit, subject to review

for arbitrariness. Dunlop, 421 U.S. at 572. Here, by contrast, Plaintiffs point to no comparably

clear language purporting to limit the FDA’s “complete discretion.” Chaney, 470 U.S. at 835.

                        b.       The FDA’s compliance policy is not based on a mistaken belief
                                 that it lacks jurisdiction to bring an enforcement action

        The presumption of nonreviewability may also be overcome where an agency “refus[es]

. . . to institute proceedings based solely on the belief that it lacks jurisdiction.” Chaney, 470

U.S. at 833 n.4. Plaintiffs make no such allegation here—nor could they. The FDA has

vigorously defended its authority to subject newly regulated products to this provision, see, e.g.,

Nicopure, 266 F. Supp. 3d at 396–400, has announced plans to enforce it beginning in 2021, and

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has published guidance describing how it intends to do so, see supra at 10–11. Thus, there is no

concern here that the FDA has extended the premarket compliance periods out of a mistaken

belief that it lacked jurisdiction.

                        c.      The FDA’s compliance policy is not an “abdication” of its
                                statutory responsibilities

        Finally, while the Supreme Court has left open the possibility that the presumption of

nonreviewability “may” be overcome if an agency has “‘consciously and expressly adopted a

general policy’ that is so extreme as to amount to an abdication of its statutory responsibilities,”

Chaney, 470 U.S. at 833 n.4 (citation omitted), Plaintiffs fall well short of showing that the FDA

could “justifiably be found” to have done so here, id. Not only is the revised compliance policy

explicitly limited in duration, but it is part and parcel of a broader regulatory plan designed to

allow the agency to issue regulations and other guidance expected to improve the quality of

premarket applications—hardly “abdication” by any reasonable measure.

        Contrary to Plaintiffs’ claims, the compliance policy abdicates no “duty assigned to [the

FDA] by statute.” Mem. in Supp. of Pls.’ Mot. for Summ. J. (“Pls.’ Br.”) at 9, ECF No. 31-2.

Plaintiffs observe that, under the TCA, a manufacturer “is required” to obtain premarket

authorization, 21 U.S.C. § 387j(a)(2)(A), before a “new product may be introduced . . . into

interstate commerce,” id. § 387j(c)(1)(A)(i); see Pls.’ Br. at 9. But that provision places a

requirement on manufacturers, not the FDA, as Plaintiffs themselves recognize. Pls.’ Br. at 9

(acknowledging that “the Act directs” this requirement “[a]s to manufacturers”). Plaintiffs also

note that the statute says the FDA “shall . . . issue an order” granting or denying premarket

authorization within “180 days after receipt of an application.” 21 U.S.C. § 387j(c)(1)(A)(i), (ii);

see Pls.’ Br. at 10. But the FDA has not abdicated any duty imposed by that provision:

manufacturers remain free to submit premarket applications in advance of the compliance date,

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and the agency intends to process such applications within the statutory timeframe. Indeed, there

is no material difference between these provisions and those governing the premarket approval

process for new drugs in Chaney, where they were “simply irrelevant to the agency’s discretion

to refuse to initiate proceedings.” 470 U.S. at 824, 836 (citing 21 U.S.C. § 355).12

        The cases cited by Plaintiffs are inapposite, see Pls.’ Br. at 14, as each involved an

unambiguous statutory command to the agency. For example, in Adams v. Richardson, 480 F.2d

1159 (D.C. Cir. 1973) (en banc), the agency refused to cut off federal funding under Title VI of

the Civil Rights Act to schools that had failed to take sufficient action to end segregation. The

court held that this was not an enforcement decision committed to agency discretion, as the

statute “not only requires the agency to enforce the Act, but also sets forth specific enforcement

procedures.” Id. at 1162. Similarly, in NAACP v. Secretary of Housing and Urban

Development, 817 F.2d 149 (1st Cir. 1987), the agency declined to take steps “to affirmatively

further” the policies of the Fair Housing Act, claiming that this statutory directive was satisfied

so long as the agency did not engage in discriminatory conduct itself. The court found Chaney

inapplicable, noting that “as a matter of language and logic” the statute “impose[d] an obligation

[on the agency] to do more.” Id. at 154. And in Cook v. FDA, 733 F.3d 1 (D.C. Cir. 2013), the

court held that the FDA did not have unreviewable discretion to permit the importation of

misbranded drugs, explaining that another FDCA provision required that “the FDA [1] must

request samples of all drugs offered for import that have been made in an unregistered

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   See also 21 U.S.C. § 355(a) (“Necessity of effective approval of application. No person shall
introduce or deliver for introduction into interstate commerce any new drug, unless an approval
of an application filed pursuant to subsection (b) or (j) is effective with respect to such drug.”);
id. § 355(c) (within “one hundred and eighty days after the filing of an application,” the FDA
“shall either . . . approve the application . . . or . . . give the applicant notice of an opportunity for
a hearing”); id. § 355(d) (if “after . . . an opportunity for a hearing” the drug is not approvable,
the FDA “shall issue an order refusing to approve the application”).


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establishment, [2] must examine those samples for a violation of the FDCA, and [3] must refuse

admission to any drug that appears, through the sampling process or otherwise, to violate the

FDCA.” Id. at 7–8 (citing 21 U.S.C. § 381). But the court took pains to distinguish the FDA’s

“enforcement discretion to allow the domestic distribution of a misbranded or unapproved new

drug, as the Supreme Court recognized in Chaney.” Id. at 10 (emphasis added) (citing 21 U.S.C.

§ 355). Thus, in each of these cases, a clear statutory directive curtailed the agency’s

enforcement discretion. Here, by contrast, the “[t]he Act’s enforcement provisions . . . commit

complete discretion” to the agency. Chaney, 470 U.S. at 835 (emphasis added).

       That discretion is not nullified by what Plaintiffs describe as the “categorical” nature of

the compliance policy. Pls.’ Br. at 14. For starters, the policy is hardly all-encompassing: it has

no effect on the many other TCA provisions made applicable by the deeming rule, and even with

respect to the premarket review provision, the policy does not apply to products that entered the

market after August 8, 2016, when the deeming rule took effect. See supra at 11–12.

Regardless, Chaney itself involved a similarly “categorical” nonenforcement policy. There, the

plaintiffs sought to compel enforcement of the FDCA’s misbranding provision with respect to

drugs used for capital punishment, requesting “various investigatory and enforcement actions”

against “drug manufacturers,” “prison administrators,” and “all [others] in the chain of

distribution” throughout Texas, Oklahoma, and potentially “several other[]” states that had

adopted lethal injection. 470 U.S. at 823–24. The Supreme Court rejected this wide-ranging

request, holding that the FDA’s categorical conclusion that its enforcement discretion “should

not be exercised to interfere with this particular aspect of state criminal justice systems” was

unreviewable. Id. at 824. Similarly, in Irritated Residents, the plaintiffs sought to force the EPA

to enforce Clean Air Act limits on pollutants emitted from animal feed lots. The EPA, having


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found the emissions difficult to measure, had agreed to “several thousand . . . identical” consent

decrees promising to defer enforcement for “about four years” while it completed a

methodological study. 494 F.3d at 1029–30. The court found this an unreviewable exercise of

enforcement discretion, noting the agency’s “judgment that immediate compliance [wa]s

impossible or impracticable” and that this “broader strategy” would improve “industry-wide

compliance.” Id. at 1031. The policy thus gave “no indication that [the agency] ha[d]

abandoned its responsibility to enforce” the statute; “to the contrary, it is part of the agency’s

attempt to ensure that [the industry members] comply.” Id. at 1035.

       So too here. The compliance policy should be understood in its proper context, as an

integral part of the comprehensive tobacco regulatory plan with which it was announced. See

supra at 9–12. That plan does not extend the premarket review compliance period simply to

benefit industry, as Plaintiffs intimate. The extension is also designed to build in time for the

FDA “to issue regulations outlining what information the agency expects to be included in

[p]remarket” applications, “to develop product standards” that certain newly regulated products

must meet, and to “finalize guidance on how it intends to review” premarket applications for e-

cigarettes. Press Release at 2 (GAR 412). Those steps are expected to pave the way toward

“higher quality, more complete applications,” which would benefit not just industry, but the

agency and the public alike. Id. As Chaney teaches, these are “precisely the sort of balancing of

agency priorities and objectives, informed by judgments based on expertise, that, absent some

‘law to apply,’ should not be second-guessed by a court.” Irritated Residents, 494 F.3d at 1032

(citation omitted).




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       C.      The Guidance Is Not Final Agency Action Subject to Judicial Review

       Finality is another prerequisite to judicial review of agency action. See 5 U.S.C. § 704;

Invention Submission Corp. v. Rogan, 357 F.3d 452, 458 (4th Cir. 2004) (noting that the APA’s

final agency action requirement is a “question of subject matter jurisdiction”). To be final,

agency action must satisfy two independent requirements. See Bennett v. Spear, 520 U.S. 154,

177 (1997). First, the action must “mark the consummation of the agency’s decisionmaking

process” and not be “of a merely tentative or interlocutory nature.” Id. at 178 (citation omitted).

Second, the action must be one “by which rights or obligations have been determined, or from

which legal consequences will flow.” Id. Even if the Guidance were more than the FDA’s

“current thinking” on enforcement of the premarket authorization requirement, Guidance at 1

(GAR 422); see BBK Tobacco & Foods, LLP v. FDA, 672 F. Supp. 2d 969, 975–76 (D. Ariz.

2009), it does not satisfy the second criterion because it does not determine any rights or

obligations, nor will any legal consequences flow from it.

       As the FDCA and its implementing regulations explain, FDA guidance documents do not

establish legally enforceable rights or responsibilities, and do not legally bind the public or the

agency. See 21 U.S.C. § 371(h)(1)(A); 21 C.F.R. § 10.115(d). The Guidance itself states that

“[i]t does not establish any rights for any person,” “do[es] not establish legally enforceable

responsibilities,” and “is not binding on FDA or the public.” Guidance at 1 (GAR 422). Instead,

the Guidance merely explains that the agency “does not intend to enforce a particular

requirement,” for a limited period. Id. at 4 (GAR 425). The Guidance sets forth the FDA’s

current thinking on how it intends to exercise its enforcement discretion in the future with

respect to premarket review for certain products. Such non-binding enforcement guidance is not

final agency action. See Am. Tort Reform Ass’n v. Occupational Safety & Health Admin., 738


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F.3d 387, 395 (D.C. Cir. 2013) (explaining that non-legislative rules, such as guidance

documents, typically are not final agency action); Ctr. for Auto Safety, Inc. v. Nat’l Highway

Traffic Safety Admin., 342 F. Supp. 2d 1, 24 (D.D.C. 2004) (holding that “non-binding” letter

containing “prospective enforcement policies designed to inform the industry and agency

personnel regarding how the agency intends to exercise its enforcement discretion” was not final

agency action); see also BBK Tobacco, 672 F. Supp. 2d at 975 (concluding that FDA guidance

documents were not final agency action because no legal consequences flowed from them).

       Plaintiffs claim that they may suffer practical consequences if manufacturers postpone

the submission of their premarket review applications as a result of the Guidance, but the Fourth

Circuit has made clear that this alleged harm is not the sort of legal consequence that can render

agency action final. In Flue-Cured Tobacco Coop. Stabilization Corp. v. EPA, 313 F.3d 852

(4th Cir. 2002), the plaintiffs sought to challenge a report issued by the EPA regarding the health

hazards of second-hand tobacco smoke. Like the Guidance here, the report was not legally

binding on anyone. See id. at 859. The plaintiffs nevertheless argued that the report imposed

“coercive pressures” on third parties to act in ways that could harm the plaintiffs. Id. In

particular, the plaintiffs claimed that the report exerted significant pressure on private groups and

other government agencies to impose restrictions on tobacco, which in turn would be detrimental

to the plaintiffs’ businesses. See id. at 860–61. The court rejected the plaintiffs’ theory that

“agency action producing only coercive pressures on third parties is reviewable under the APA.”

Id. at 859. The court noted that, if it were to adopt such an expansive approach, “almost any

agency policy . . . would be subject to judicial review” because all agency statements—even non-

binding ones—are likely to influence the actions of others. Id. at 861.




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       Because the Guidance does not impose “legally enforceable responsibilities” on regulated

entities and is “not binding on FDA or the public,” Guidance at 1 (GAR 422), it is not final

agency action subject to judicial review.

II.    PLAINTIFFS’ CLAIMS FAIL ON THE MERITS

       Even if this case were justiciable, Plaintiffs’ claims would fail on the merits, as the

Guidance is fully consistent with the statutory text, is a policy statement exempt from notice and

comment, and reflects an entirely reasonable enforcement strategy.

       A.      The Guidance Does Not Conflict with the TCA

       Plaintiffs principally claim that the Guidance “violates the Tobacco Control Act.” Pls.’

Br. at 9. It does no such thing. The Guidance does not purport to modify or interpret any

provision of the TCA. Rather, it simply states that the FDA “does not intend to enforce a

particular requirement” of the statute for a limited period, Guidance at 4 (GAR 425)—an entirely

unexceptional exercise of enforcement discretion that conflicts with no legislative directive.

       To begin, the compliance policy in no way “countermand[s] a duty assigned to [the FDA]

by statute.” Pls.’ Br. at 9. As already explained, while the statutory text provides that premarket

authorization “is required,” 21 U.S.C. § 387j(a)(2)(A), that provision places an obligation on the

manufacturer, not the FDA, and the agency intends to process any such applications within the

statutory timeframe. See supra at 24–25, 27–28. Plaintiffs’ appeal to the TCA’s legislative

history gets them no further, Pls.’ Br. at 9, as the House Report simply confirms this

understanding.13




13
   See, e.g., H.R. Rep. No. 111-58, pt. 1, at 41 (2009) (“Section 910(c) requires the Secretary,
within 180 days after receipt of an application, to make a determination of whether to
allow the new product to enter the market or deny the application.”).


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       Equally unpersuasive is Plaintiffs’ argument that the Guidance “rewrite[s] clear

provisions” of the TCA, replacing the statutory text with words “of [the FDA’s] own choosing.”

Pls.’ Br. at 11. Here, they point to a statutory exception to the general rule that a manufacturer

must obtain premarket authorization before marketing a new tobacco product: if the product

entered the market by March 22, 2011, and the manufacturer submitted an SE application by the

same date, then the product can be marketed while that application is pending without being

deemed misbranded. See 21 U.S.C. § 387j(a)(2)(B). This provision, Plaintiffs claim, impliedly

precludes the FDA from crafting other exceptions to the premarket review requirement. Pls.’ Br.

at 11–12. But the Guidance nowhere purports to create any exceptions to the substantive

requirements of the statute; it merely indicates that the agency does not intend to take action to

enforce those requirements for a limited time.

       Plaintiffs’ reliance on Utility Air Regulation Group v. EPA, 134 S. Ct. 2427, 2445 (2014),

is therefore misplaced. There, the EPA’s decision to regulate greenhouses gases swept millions

of parties into the Clean Air Act’s statutory scheme, which requires sources that emit more than

100–250 tons per year of a regulated pollutant to obtain permits, id. at 2435–36; to mitigate these

costs, the agency issued a regulation changing this statutory threshold to 100,000 tons per year

for greenhouse gases, id. at 2444–45. The Supreme Court held that the EPA’s regulatory

“rewriting of the statutory thresholds was [an] impermissible” effort “to alter those requirements

and to establish with the force of law that otherwise-prohibited conduct will not violate the Act.”

Id. at 2445. The Court noted, however, that were it not for the Clean Air Act’s citizen-suit

provision, the EPA might well have achieved the same ends by “merely exercising its

enforcement discretion,” id., as the FDA did here.




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       Moreover, Plaintiffs’ suggestion that the Guidance somehow converts the premarket

review process into “a form of postmarket review” blinks reality. Pls.’ Br. at 11. When the

deeming rule took effect in August 2016, there were, for example, as many as 11,000 e-cigarette

products on the market, RIA at 84 (AR 23,995)—all of which were suddenly out of compliance

with the TCA’s premarket review provision. See supra at 1. Even under the original compliance

policy, which is unchallenged here, all of these products would necessarily have undergone

review after entering the market. And because all of these products would have been

immediately subject to enforcement action as of the deeming rule’s effective date, few favored

forgoing a compliance period, given the potential these products may have for reducing the risk

of tobacco-related disease, the benefits of allowing the agency to more efficiently manage the

flow of incoming applications, and the benefits of having high-quality premarket submissions.

Indeed, during the comment period for the deeming rule, Plaintiffs themselves submitted a

comment urging the agency to “exercise . . . its enforcement discretion” to select shorter

compliance periods, but acknowledging that “[p]ermitting a compliance period for newly

deemed tobacco products is discretionary with FDA.” AR 145,604, 145,607. They should not

be heard to take a contrary position now. See, e.g., Nat’l Wildlife Fed’n v. EPA, 286 F.3d 554,

562 (D.C. Cir. 2002) (“It is well established that issues not raised in comments before the agency

are waived and this Court will not consider them.”).

       Plaintiffs’ nod to the Take Care Clause, Pls.’ Br. at 13, offers them no aid. First, that

clause provides that the President “shall take Care that the Laws be faithfully executed,” U.S.

Const., art. II, § 3; it does not direct subordinate officers or agencies in the performance of their

duties, see Printz v. United States, 521 U.S. 898, 922 (1997). Because Plaintiffs challenge

guidance issued by the FDA, not an action (or inaction) of the President, their invocation of the


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Take Care Clause stalls at the threshold. Second, even if the Take Care Clause applied to

subordinate officers and agencies, it does not provide an independent cause of action. See

Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 499 (1867) (observing that “the duty of the

President in the exercise of the power to see that the laws are faithfully executed” is “purely

executive and political” and so not subject to judicial review); cf. Armstrong v. Exceptional Child

Ctr., Inc., 135 S. Ct. 1378, 1383–84 (2015) (holding that the Supremacy Clause does not confer

an implied right of action). Third, it is not the case that if an agency violates a statute it

automatically violates the Constitution as well. As the Supreme Court has explained, its “cases

do not support the proposition that every action by the President, or by another executive official,

in excess of his statutory authority is ipso facto in violation of the Constitution.” Dalton v.

Specter, 511 U.S. 462, 472 (1994). To hold otherwise would flip the doctrine of constitutional

avoidance on its head, as relief under the APA would remedy the purported constitutional

violation and therefore make resolution of the constitutional claim unnecessary and inadvisable.

See, e.g., Nw. Austin Mun. Util. Dist. No. One v. Holder, 557 U.S. 193, 204–06 (2009)

(discussing doctrine of constitutional avoidance). Because Plaintiffs’ reliance on the Take Care

Clause is grounded solely in the FDA’s alleged violation of 21 U.S.C. § 387j(a), it simply has no

independent force. See, e.g., South Carolina v. United States, No. 16-391, 2017 WL 976298, at

*29 (D.S.C. Mar. 14, 2017) (dismissing Take Care Clause claim premised solely on the

defendant’s alleged violation of a statute).

        Regardless, Plaintiffs’ suggestion that recognizing the FDA’s enforcement discretion here

“would unconstitutionally vest in the Executive Branch legislative power to rewrite laws,” Pls.’

Br. at 13, gets things exactly backward. Under Article II, the power to “take care that the laws

be faithfully executed” is “entrusted to the executive branch—and only to the executive branch.”


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Baltimore Gas, 252 F.3d at 459 (citing U.S. Const. art. II, § 3). “One aspect of that power is the

prerogative to decline to enforce a law, or to enforce a law in a particular way.” Id. Thus,

“[w]hen the judiciary orders an executive agency to enforce the law it risks arrogating to itself a

power that the Constitution commits to the executive branch.” Id. Indeed, as the D.C. Circuit

has explained, “Chaney’s recognition that the courts must not require agencies to initiate

enforcement actions may well be a requirement of the separation of powers commanded by our

constitution.” Id.

       B.      The Guidance Is a Policy Statement Exempt from Notice and Comment

       Plaintiffs likewise miss the mark in arguing that the Guidance must be set aside because

it is a substantive rule issued without notice and comment. See Compl. ¶¶ 103–10. Under the

APA, before adopting a “substantive” (or “legislative”) rule, an agency generally must publish a

notice of proposed rulemaking in the Federal Register and accept public comment. 5 U.S.C.

§ 553(b)–(c). “[G]eneral statements of policy,” however, are exempt from these notice-and-

comment requirements. Id. § 553(b). And the Guidance is a paradigmatic statement of policy.

       A “substantive rule establishes a standard of conduct which has the force of law.” Pac.

Gas & Elec. Co. v. Fed. Power Comm’n, 506 F.2d 33, 38 (D.C. Cir. 1974); see Jerri’s Ceramic

Arts, Inc. v. Consumer Prod. Safety Comm’n, 874 F.2d 205, 207 (4th Cir. 1989) (“[A]

substantive or legislative rule, pursuant to properly delegated authority, has the force of law, and

creates new law or imposes new rights or duties.”). Thus, an “agency action that purports to

impose legally binding obligations or prohibitions on regulated parties—and that would be the

basis for an enforcement action for violations of those obligations or requirements—is a

legislative rule.” Nat’l Mining, 758 F.3d at 251.




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        A statement of policy, by contrast, “advise[s] the public prospectively of the manner in

which the agency proposes to exercise a discretionary power.” Lincoln v. Vigil, 508 U.S. 182,

197 (1993) (quoting Attorney General’s Manual on the Administrative Procedure Act 30 n.3

(1947)). It “explains how the agency will enforce a statute or regulation—in other words, how it

will exercise its broad enforcement discretion or permitting discretion under some extant statute

or rule.” Nat’l Mining, 758 F.3d at 252. It serves to “appris[e] the regulated community of the

agency’s intentions” and “inform[] the exercise of discretion by agents and officers in the field.”

Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 716 (D.C. Cir. 2015).

Policy statements “are binding on neither the public nor the agency,” and the agency “retains the

discretion and the authority to change its position . . . in any specific case.” Syncor Int’l Corp. v.

Shalala, 127 F.3d 90, 94 (D.C. Cir. 1997) (citations omitted); see Chen Zhou Chai v. Carroll, 48

F.3d 1331, 1341 (4th Cir. 1995) (policy statements announce “tentative intentions for the future

without binding [an agency]”; they do not “establish a binding norm and leave[] agency officials

free to exercise their discretion”).

        The Guidance is a quintessential statement of policy, as its text repeatedly reinforces. It

was issued as a “matter of enforcement discretion.” Guidance at 4 (GAR 425). It imposes “no[]

. . . legally enforceable responsibilities” on regulated parties. Id. at 1 (GAR 422). Rather, it

simply announces that the agency “does not intend to enforce a particular requirement” for a

limited period. Id. at 4 (GAR 425). Indeed, as is characteristic of policy statements, it merely

represents the agency’s “current thinking” and “is not binding on FDA or the public.” Id. at 1

(GAR 422); see 21 U.S.C. § 371(h)(1)(A)–(B); 21 C.F.R. § 10.115(d). Because the Guidance

establishes no rights or obligations but merely advises the public of how the FDA intends to

exercise its enforcement discretion, it is a policy statement exempt from notice and comment.


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       Contrary to Plaintiffs’ assertion, the Guidance’s status as a policy statement is not merely

a function of the FDA’s “characterization” of it as such. See Pls.’ Br. at 18. The Guidance is a

policy statement because of what it says and “the substance of what [the FDA] has purported to

do and has done.” Nat’l Knitwear Mfrs. Ass’n v. Consumer Prod. Safety Comm’n, 666 F.2d 81,

83 (4th Cir. 1981) (citation omitted); see Prof’ls & Patients for Customized Care v. Shalala, 56

F.3d 592, 596–97 (5th Cir. 1995); All. for Bio-Integrity v. Shalala, 116 F. Supp. 2d 166, 172

(D.D.C. 2000) (“courts will look to the actual language of [an agency’s] statement,” in addition

to giving the “agency’s own characterization of its statement . . . some weight”). Indeed, it is

Plaintiffs that attempt to characterize the Guidance as something other than what it is, by

ignoring its plain terms. Plaintiffs say the Guidance creates a “categorical[] exempt[ion],” Pls.’

Br. at 17, but it is neither categorical, nor an exemption. See Guidance at 3 (GAR 424)

(describing limited circumstances to which the Guidance applies); id. at 1 (GAR 422)

(explaining that the Guidance “does not establish any rights” or any “legally enforceable

responsibilities”). And Plaintiffs assert that the Guidance “constrains FDA’s discretion,” Pls.’

Br. at 17, but the Guidance expressly disclaims any such intent or effect by making clear that it is

“not binding on FDA,” Guidance at 1 (GAR 422). In short, the Guidance is—in terms and in

substance—a statement of policy.

       Courts have routinely held that enforcement guidance, like that contained in the

Guidance, is a statement of policy exempt from notice and comment, not a substantive rule. See,

e.g., Clarian Health W., LLC v. Hargan, 878 F.3d 346, 357 (D.C. Cir. 2017) (concluding that

non-binding instructions setting forth “agency’s enforcement priorities” constituted a statement

of policy); Prof’ls & Patients for Customized Care, 56 F.3d at 593 (holding an FDA Compliance

Policy Guide was not a substantive rule); Int’l Union, UAW v. Brock, 783 F.2d 237, 251 n.18


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(D.C. Cir. 1986); Brock v. Cathedral Bluffs Shale Oil Co., 796 F.2d 533, 537–38 (D.C. Cir.

1986) (holding that non-binding guidance for the exercise of an agency’s enforcement discretion

was not subject to notice-and-comment rulemaking); NAACP v. Trump, 298 F. Supp. 3d 209,

237 (D.D.C. 2018) (concluding that memorandum rescinding Deferred Action for Childhood

Arrivals program (DACA) was a “clear example” of a policy statement because it merely

“advise[d] the public prospectively of the manner in which the agency propose[d] to exercise [its

enforcement discretion]”); Casa de Maryland v. U.S. Dep’t of Homeland Sec., 284 F. Supp. 3d

758, 772 (D. Md. 2018) (same); see also Ctr. for Auto Safety, Inc. v. Nat’l Highway Traffic

Safety Admin., 342 F. Supp. 2d 1, 20 (D.D.C. 2004) (“[C]ourts have uniformly construed

enforcement guidelines as policy statements.”). This Court should do the same.

       The cases on which Plaintiffs rely are inapposite. See Pls.’ Br. at 17–19. Unlike the

Guidance, the agency pronouncements at issue in those cases created new rights or obligations

that were binding on the agency and the public. In many of Plaintiffs’ cases, the agency

“indefinitely postpone[ed] the effective date” of a rule, which “effectively repeal[ed]” the rule.

Nat. Res. Def. Council, Inc. v. EPA, 683 F.2d 752, 753, 762 (3d Cir. 1982) (emphasis added); see

Nat. Res. Def. Council v. Nat'l Highway Traffic Safety Admin., 894 F.3d 95, 100 (2d Cir. 2018)

(agency “indefinitely delay[ed] the effective date” of rule); Nat. Res. Def. Council v. Abraham,

355 F.3d 179, 194, 195 (2d Cir. 2004) (agency “suspended the effective date of [the rule]

indefinitely,” which was “in substance, tantamount to an amendment or rescission of the [rule]”);

Envtl. Def. Fund, Inc. v. Gorsuch, 713 F.2d 802, 814 (D.C. Cir. 1983) (explaining that the

agency’s decision had the effect of “indefinitely suspend[ing] the effective date of the [rule]”

while the agency considered a proposed rule that would in fact “suspend the effective date[]” of

the existing rule); Envtl. Def. Fund, Inc. v. EPA, 716 F.2d 915, 917 (D.C. Cir. 1983) (agency


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“suspended” regulation); Council of S. Mountains, Inc. v. Donovan, 653 F.2d 573, 575 (D.C. Cir.

1981) (“deferred implementation” of rule). Suspending a rule’s effective date alters the

underlying legal norm—thus establishing new rights or obligations—in a way that binds the

agency; an agency cannot enforce a rule that is not in effect. The Guidance, in contrast, does not

delay or otherwise alter the effective date of the deeming rule. See 81 Fed. Reg. at 28,974. The

August 8, 2016, effective date of the premarket review requirements remains the same, and the

Guidance “simply lets the public know [the FDA’s] current enforcement . . . approach” with

respect to those requirements. Syncor Int’l, 127 F.3d at 94. The FDA “retains the discretion and

the authority to change its position” because the Guidance “does not affect the legal norm.” Id.;

see also Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1046 (D.C. Cir. 1987) (a general policy

statement “allow[s] agencies to announce their tentative intentions for the future, without binding

themselves”) (citation omitted).

       Plaintiffs’ remaining cases all involved agency pronouncements that imposed legally

binding obligations or prohibitions on regulated parties. See Gen. Elec. Co. v. EPA, 290 F.3d

377, 385 (D.C. Cir. 2002) (concluding that agency statement that “impose[d] binding obligations

upon applicants,” and directed “Agency not to question” applications that complied, was a

substantive rule because it “ha[d] the force of law”); Appalachian Power Co. v. EPA, 208 F.3d

1015, 1024–28 (D.C. Cir. 2000) (rejecting classification of agency statement as interpretative

rule where it imposed new duties on regulated entities that were not found in the regulations, i.e.,

it “direct[ed] State permitting authorities to conduct wide-ranging sufficiency reviews and to

enhance the monitoring required in individual permits”); Alaska v. U.S. Dep’t of Transp., 868

F.2d 441, 442 (D.C. Cir. 1989) (concluding that “Order Granting Exemption” from federal

regulations had the force of law because “exemptions” were mandatory and preempted any


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contrary state laws); Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 945, 947–49 (D.C. Cir. 1987)

(agency’s issuance of “action level,” which informed producers of the allowable level of

unavoidable contaminants in food, was substantive rule; “agency’s own words” established that

levels created binding norms, as they defined the level at which food would become unlawful

and required producers to obtain an exemption before exceeding the level). Unlike the binding

norms at issue in those cases, the Guidance merely advises the public of how the FDA intends to

exercise its enforcement discretion. It “do[es] not establish legally enforceable responsibilities,”

and it is “not binding on FDA or the public.” Guidance at 1 (GAR 422). Accordingly, even if

the cases on which Plaintiffs rely were binding on this Court (and none of them are), they would

not control here.

       Furthermore, the FDA’s decision to solicit comments, in conjunction with promulgation

of the deeming rule, before announcing its prior premarket review enforcement policy does not

somehow transform the Guidance into a substantive rule. See Pls.’ Br. at 19–20; Compl. ¶ 107.

The FDA made clear that the enforcement policy was not a substantive rule, and that it described

the proposed policy and revised policy in the preambles to the proposed and final rule, rather

than a separate guidance document, because of the obvious interest. See 81 Fed. Reg. at 28,977.

And Plaintiffs cite no authority for their novel theory that an agency converts a statement of

policy into a substantive rule by voluntarily subjecting prior iterations to notice and comment.

The absence of such authority is not surprising; requiring an agency to forgo voluntarily seeking

public input in order to preserve its right to issue policy statements without such procedures in

the future would create perverse incentives.14


14
 Contrary to Plaintiffs’ argument, which they raise in a footnote, see Pls.’ Br. at 20 n.8, the
FDA acted in accordance with its statute and regulations. The statute and regulations provide


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       C.      The FDA Rationally Explained Its Updated Enforcement Policy

       It is black-letter law that an agency is free to change course on policy matters so long as it

provides a rational explanation. Here, the FDA’s decision to revise its compliance policy—for a

single TCA provision, for a subset of newly deemed products, for a limited time—readily meets

that deferential standard.

       From the beginning, the FDA’s proposed compliance policy was the subject of

conflicting comments. On the one hand, “many industry comments sought additional time to

comply with the[] requirements” imposed by the rule, 81 Fed. Reg. at 29,012, asserting, for

example, that “small and medium-sized businesses lack the . . . resources to tackle [its] high

administrative burden,” id. at 29,014. On the other hand, “many other comments stated that the

contemplated . . . compliance period[s] w[ere] too long,” id. at 29,013, and could be “detrimental

to the public health,” id. at 20,012. In the preamble to the final deeming rule, the FDA “str[uck]

an appropriate balance” between these competing interests, id. at 29,014, announcing that it did

not intend to enforce certain provisions for specified periods, id. at 29,006 tbl. 2. With respect to

the premarket review provision, the agency intended to defer enforcement for products already

on the market as of the deeming rule’s effective date if the manufacturer submitted an

application by one of three compliance dates—for SE exemption requests, August 2017; for SE

reports, February 2018; and for premarket tobacco applications, August 2018—and would



that the “FDA will not seek . . . comment before it implements a . . . guidance document if the
agency determines that prior public participation is not feasible or appropriate.” 21 C.F.R.
§ 10.115(g)(2); see also 21 U.S.C. § 371(h)(1)(C)(i). The FDA reasonably made that
determination here. See 82 Fed. Reg. 37,459, 37,460 (Aug. 10, 2017) (explaining that the FDA
could not delay issuance of the Guidance given “the upcoming compliance deadlines and the
amount of time needed for [regulated entities] to prepare for them”). And the FDA provided the
public with an opportunity to submit comments after issuance of the Guidance, as required by the
agency’s regulations. See 21 C.F.R. § 10.115(g)(3); see also 21 U.S.C. § 371(h)(1)(C)(i).


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continue deferring enforcement for up to another year while the application was under review.

Id. at 29,011. The FDA noted, however, that “[a]s with any such policy, the Agency will review

and revise this policy as appropriate.” Id. at 29,008.

       Shortly after the deeming rule’s publication, it was challenged by manufacturers, trade

associations, and consumers in a number of lawsuits, many of which targeted the premarket

review provision—which for most products is expected to be the TCA’s most burdensome

requirement. See RIA at 114–15 & tbl. 32 (AR 24,025–26). In Nicopure, for example, the

plaintiffs argued that the premarket review compliance periods were irrationally short, and that

the agency had provided insufficient guidance for manufacturers to prepare successful

applications. While the district court rejected these arguments, emphasizing “the range of

viewpoints that had been presented during the notice and comment period,” it noted that “other

approaches may have been reasonable as well.” Nicopure, 266 F. Supp. 3d at 399–400. And

members of the public and industry continued to urge the agency to adopt another approach.15

       After the change in administrations, as part of a “new comprehensive plan” for the

regulation of tobacco products, see supra at 9–12, the FDA indeed revised its approach. Under

its “new compliance policy,” the agency now intends to defer enforcement of the premarket

review provision until August 2021 for combustible products (like cigars) and until August 2022

for noncombustible products (like most e-cigarettes). Guidance at 3 (GAR 424). In the

meantime, it plans “to issue regulations outlining what information the agency expects to be

included in [p]remarket” applications, “to develop product standards” that certain newly

regulated products must meet, and to “finalize guidance on how it intends to review” premarket

15
  See, e.g., GAR 166–79 (urging the FDA to extend compliance dates generally); GAR 303
(urging the FDA to extend compliance dates for two years); GAR 159 (urging the FDA to extend
compliance dates until August 2022).


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applications for e-cigarettes. Press Release at 2 (GAR 412). As the FDA explained in a July 28,

2017, press release—and as the Commissioner of Food and Drugs underscored in a lengthy

policy address the same day—this “targeted relief” was intended to “make certain that the FDA

is striking an appropriate balance between regulation and encouraging the development of

innovative tobacco products that may be less dangerous than cigarettes,” and to facilitate the

submission of “higher quality, more complete applications informed by additional guidance from

the agency.” Id. at 1, 2.

       That explanation was more than sufficient. Under the APA, an agency’s decision must

be upheld unless arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law. See 5 U.S.C. § 706(2)(A). The agency’s decision is presumed valid, and the Court

considers only whether it “was based on a consideration of the relevant factors and whether there

has been a clear error of judgment.” Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402,

416 (1971). An agency decision may be deemed arbitrary and capricious only in circumstances

where the agency “has relied on factors which Congress has not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could not be ascribed

to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State

Farm, 463 U.S. 29, 43 (1983). The Court may not “substitute its judgment for that of the

agency.” Id.

       Here, the FDA’s decision amply meets these “minimal standards of rationality,” Troy

Corp. v. Browner, 120 F.3d 277, 283 (D.C. Cir. 1997), and Plaintiffs’ arguments to the contrary

fail at each turn. Indeed, none of the cases Plaintiffs cite in support of their argument that the




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Guidance is arbitrary and capricious, see Pls.’ Br. at 21–25, involves a challenge to an agency

enforcement policy.

          First, Plaintiffs contend that the FDA “failed to provide any explanation” for revising its

compliance policy. Pls.’ Br. at 21. But as Plaintiffs well know, the revised compliance policy

was part and parcel of the comprehensive regulatory strategy set forth in the agency’s July 28,

2017, press release, and discussed in the Commissioner’s equally comprehensive policy address.

The Court should not indulge their head-in-the-sand approach, least of all based on their

mistaken interpretation of Dow AgroSciences LLC v. National Marine Fisheries Service, 707

F.3d 462 (4th Cir. 2013), which in fact stands for the unremarkable proposition that “‘post hoc

rationalizations’” are disfavored, id. at 468 (citation omitted)—not that agency action cannot be

supported by earlier materials properly in the record. Here, the “agency’s path may reasonably

be discerned,” which would be enough under the APA even if the “decision [were] of less than

ideal clarity.” Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286

(1974).

          Second, Plaintiffs argue that the FDA pointed to no “good reasons” for its decision,

claiming that the agency cited “no changed circumstances” or “new evidence” justifying a policy

shift. Pls.’ Br. at 22–23. That misstates the agency’s burden. When an agency makes a policy

change, it “need not demonstrate to a court’s satisfaction that the reasons for the new policy are

better than the reasons for the old one.” FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515 (2009).

Rather, “it suffices that the new policy is permissible under the statute, that there are good

reasons for it, and that the agency believes it to be better, which the conscious change of course

adequately indicates.” Id. Under this standard, an agency could well reweigh the same evidence

and come to a different policy judgment, so long as it explains why. In any event, here, the FDA


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set forth ample reasons for revising its compliance policy—including to pave the way for higher-

quality applications informed by the forthcoming regulations and guidance. And contrary to

Plaintiffs’ claim, there is nothing at all “bizarre” about the agency’s decision to more fully

develop a framework for conducting premarket review for certain products already on the market

before enforcing the premarket review requirement as to those products, Pls.’ Br. at 23, including

by developing tobacco product standards to be applied as additional prerequisites for premarket

approval, see 21 U.S.C. § 387j(b)(1)(D) (requiring a premarket tobacco application “to show that

[the] product fully meets [any applicable] tobacco product standard”). Regardless, an “agency

enjoys broad discretion in determining how best to handle related, yet discrete, issues in terms of

procedures and priorities,” and need not “solve every problem before it in the same proceeding.”

Mobil Oil Exploration & Producing, S.E., Inc. v. United Distrib. Cos., 498 U.S. 211, 231 (1991).

Nothing in the TCA—or the APA, for that matter—purports to limit that discretion.

       Third, Plaintiffs argue that the FDA failed to explain subsidiary aspects of the updated

compliance policy, such as its staggering of compliance periods based on product type

(combustible or noncombustible) rather than type of premarket application. Pls.’ Br. at 24. But

those categories largely overlap. See, e.g., RIA at 95–97 & tbls. 15, 16 (AR 24,006–08) (noting

that most non-grandfathered cigar and pipe tobacco products are expected to submit SE

applications, while most e-cigarette products are expected to submit premarket tobacco

applications). And the agency did explain the differences between combustible and

noncombustible products that informed its approach:

       [I]t’s the other chemical compounds in tobacco, and in the smoke created by
       setting tobacco on fire, that directly and primarily cause the illness and death, not
       the nicotine. So we need to take a fresh look at nicotine itself, and how the
       addiction that it causes relates to the potential harm of its delivery mechanism. . . .
       Looking at ways to reduce nicotine levels in cigarettes so that they are minimally
       or non-addictive, while not altering the nicotine content of noncombustible

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       products such as e-cigarettes, is a cornerstone of our new and more
       comprehensive approach to effective tobacco regulation. . . . But, as we move
       forward with this approach, we must also take a new and fresh look at the
       noncombustible side of the house.

Scott Gottlieb, Protecting American Families: Comprehensive Approach to Nicotine and

Tobacco, https://www.fda.gov/NewsEvents/Speeches/ucm569024.htm (July 28, 2018) (GAR

405–10). Given the potential of noncombustible products to present a reduced risk of tobacco-

related disease, and the more onerous premarket application pathway that most noncombustible

products are expected to use, see RIA at 94 & tbl. 14 (AR 24,005) (summarizing differences in

average cost among application pathways), the agency’s staggering of compliance deadlines was

entirely sensible. And despite Plaintiffs’ suggestion to the contrary, the updated compliance

policy’s deferral of enforcement is not properly understood as “indefinite.” The TCA provides

that the FDA “shall . . . issue an order” granting or denying premarket authorization within “180

days after receipt of an application,” 21 U.S.C. § 387j(c)(1)(A)(i), (ii), and the agency intends to

process such applications within the statutory timeframe.

       The FDA also considered the potential public health effects of its updated compliance

policy. See Pls.’ Br. at 24–25. The extended compliance periods are a component of the FDA’s

larger comprehensive regulatory strategy to protect the public health, in part by reducing the

addictiveness of combustible cigarettes while temporarily delaying the immediate market exit of

innovative, potentially less harmful tobacco products. See GAR 405–10 (“In a world where

FDA is pursuing how to regulate nicotine levels in cigarettes, and combustible cigarettes are one

day far less addictive, we can take the time to make sure we have in place the foundational

elements of a robust and sustainable framework for regulating the non-combustible forms of

nicotine delivery. That means extending further some of the current compliance deadlines for

newly deemed products.”). The FDA determined that these benefits, along with the “higher

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quality, more complete applications informed by additional guidance from the agency” it now

anticipates receiving, Press Release at 1–2 (GAR 411–12), warranted a further, limited deferral

of enforcement of the premarket review provisions. That expert policy judgment merits

deference here—if it is even subject to judicial review at all.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss this case or, in the alternative, grant

summary judgment to Defendants.


Dated: August 7, 2018                              Respectfully submitted,

Of counsel:                                        BRETT A. SHUMATE
                                                   Deputy Assistant Attorney General
ROBERT P. CHARROW
General Counsel                                     /s/ Eric Beckenhauer                          .
Food and Drug Division                             ERIC B. BECKENHAUER
Office of General Counsel                          MICHELLE R. BENNETT
U.S. Dep’t of Health and Human Services            Trial Attorneys
                                                   U.S. Department of Justice
LOWELL J. SCHILLER                                 Civil Division, Federal Programs Branch
Acting Chief Counsel                               20 Massachusetts Ave. NW
                                                   Washington, DC 20530
ANNAMARIE KEMPIC                                   (202) 514-3338
Deputy Chief Counsel for Litigation                (202) 616-8470
                                                   eric.beckenhauer@usdoj.gov
WENDY S. VICENTE
Senior Counsel                                     Counsel for Defendants
Office of the Chief Counsel
Food and Drug Administration
10903 New Hampshire Avenue
White Oak 31, Room 4562
Silver Spring, MD 20993-0002




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